948 F.2d 1294
    NOTICE:  Although citation of unpublished opinions remains unfavored, unpublished opinions may now be cited if the opinion has persuasive value on a material issue, and a copy is attached to the citing document or, if cited in oral argument, copies are furnished to the Court and all parties.  See General Order of November 29, 1993, suspending 10th Cir. Rule 36.3 until December 31, 1995, or further order.
    William H. BREZOVSKI, Plaintiff-Appellant,v.UNITED STATES POSTAL SERVICE;  Postmaster General of theUnited States, Anthony Frank, Officially;Postmaster of Albuquerque, Rodney Smith,Officially, Defendants-Appellees.
    No. 91-2112.
    United States Court of Appeals, Tenth Circuit.
    Nov. 15, 1991.
    
      Before STEPHEN H. ANDERSON, TACHA and BRORBY, Circuit Judges.
      ORDER AND JUDGMENT*
      TACHA, Circuit Judge.
    
    
      1
      After examining the briefs and appellate record, this panel has determined unanimously that oral argument would not materially assist the determination of this appeal.   See Fed.R.App.P. 34(a);  10th Cir.R. 34.1.9.   The case is therefore ordered submitted without oral argument.
    
    
      2
      Appellant William Brezovski appeals the district court's order granting summary judgment in favor of the defendants.   The district court ordered summary judgment because Brezovski failed to file a formal administrative complaint of discrimination in a timely manner.   On appeal, Brezovski contends that disputed issues of material fact remained as to whether the applicable time constraints should have been tolled.   Brezovski also asserts that other equitable tolling principles applied in this case.   We exercise jurisdiction under 28 U.S.C. § 1291 and AFFIRM for substantially the reasons given by the district court.   The mandate shall issue forthwith.
    
    
      
        *
         This order and judgment has no precedential value and shall not be cited, or used by any court within the Tenth Circuit, except for purposes of establishing the doctrines of the law of the case, res judicata, or collateral estoppel.   10th Cir.R. 36.3
      
    
    